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Counsel for Lehman Brothers Holdings Inc.

UNITED STATES BANKRUPTCY COURT
SOUTHERN DISTRICT OF NEW YORK


 In re
                                                                  Chapter 11
 LEHMAN BROTHERS HOLDINGS INC., et al.,
                                                                  Case No.
                               Debtors.                           08-13555 (SCC)


 LEHMAN BROTHERS HOLDINGS INC.,
                                                                 Adversary Proceeding
                               Plaintiff,                        No. __________

               - against -

 1ST ADVANTAGE MORTGAGE, LLC, AFFILIATED
 FUNDING CORP., ALERA FINANCIAL, LLC,
 ALLIANCE FINANCING MORTGAGE CORP., ALPINE
 MORTGAGE LLC, AMERA MORTGAGE
 CORPORATION, AMERICAN HOME EQUITY
 CORPORATION, AMERICAN LENDING NETWORK
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INC., AMERICAN MORTGAGE EXPRESS FINANCIAL,
AMERICA'S MORTGAGE ALLIANCE, INC.,
APPROVED FUNDING CORP., APREVA FINANCIAL
CORPORATION, ARLINGTON CAPITAL MORTGAGE
CORPORATION, ASCENT HOME LOANS INC.,
ATLANTIC BAY MORTGAGE GROUP LLC, AURORA
MORTGAGE, LLC, AXIOM FINANCIAL, LLC., AXIS
MORTGAGE & INVESTMENTS LLC, BANK OF
ENGLAND, BELL AMERICA MORTGAGE LLC,
BONDCORP REALTY SERVICES, INC., BRIER
MORTGAGE CORP., BROADVIEW MORTGAGE
CORPORATION, CENTRAL PACIFIC MORTGAGE
COMPANY, CHERRY CREEK MORTGAGE CO., INC.,
CHICAGO BANCORP, INC., CHRISTOPHER E.
HOBSON, INC. (D/B/A FRANKLIN FINANCIAL),
CITIMUTUAL CORPORATION, CITY FIRST
MORTGAGE SERVICES, L.L.C., CMG MORTGAGE
INC., COMMUNITY BANKS OF COLORADO,
CORNERSTONE HOME MORTGAGE CORP.,
CORNERSTONE MORTGAGE, INC., CRANBROOK
MORTGAGE CORP., CRESTLINE FUNDING
CORPORATION, CTX MORTGAGE COMPANY, LLC,
DEUTSCHE BANK, AG (AS SUCCESSOR TO
MORTGAGE IT, INC., D/B/A MIT LENDING), DHI
MORTGAGE COMPANY, LTD., DIRECTORS
MORTGAGE INC., DOLLAR MORTGAGE
CORPORATION, DUXFORD FINANCIAL, INC.,
DYNAMIC CAPITAL MORTGAGE, INC., EAGLE
HOME MORTGAGE, LLC, EXTOL MORTGAGE
SERVICES, INC., FAIRMONT FUNDING LTD., FIRST
BANK, FIRST CALIFORNIA MORTGAGE COMPANY,
FIRST CAPITAL GROUP, LP, FIRST EQUITY
MORTGAGE BANKERS, INC., FIRST MORTGAGE
CORPORATION, FIRST RESIDENTIAL MORTGAGE
SERVICES CORP., FLICK MORTGAGE INVESTORS,
INC., FREEDOM MORTGAGE CORP., FRONTIER
INVESTMENT COMPANY, GATEWAY BANK, FSB (AS
SUCCESSOR TO ARLINGTON CAPITAL MORTGAGE
CORPORATION), GATEWAY FUNDING DIVERSIFIED
MORTGAGE SERVICES LP, GATEWAY MORTGAGE
GROUP, LLC, GEORGE MASON MORTGAGE LLC,
GLOBAL ADVISORY GROUP, INC., GREENPOINT
MORTGAGE FUNDING, INC., GUARANTEED RATE,
INC., GUARANTY BANK, HARTLAND MORTGAGE
CENTERS, INC., HOME LOAN CENTER, INC, HOME
LOAN MORTGAGE CORPORATION, HSBC

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MORTGAGE SERVICES INC., HYPERION CAPITAL
GROUP, LLC, IMORTGAGE.COM, INC., ION CAPITAL,
INC., JAMS-01, INC., K & B CAPITAL CORP.,
LAKELAND MORTGAGE CORP., LIBERTY
FINANCIAL GROUP, INC., MARIBELLA MORTGAGE
LLC, MASON DIXON FUNDING, INC., MEGA
CAPITAL FUNDING, INC., MEGASTAR FINANCIAL
CORP., MERRIMACK MORTGAGE COMPANY, INC.,
MILLENNIUM MORTGAGE CORP., MINNESOTA
HOME MORTGAGE CORPORATION, MJS LENDING,
INC., MORTGAGE CAPITAL ASSOCIATES, INC.,
MORTGAGE IT, INC., MORTGAGE PARTNERS, INC.,
MOUNTAIN AMERICA FINANCIAL SERVICES, LLC,
MOUNTAIN WEST FINANCIAL, INC., MYLOR
FINANCIAL GROUP, INC., NATIONAL FUNDING
COMPANY, LLC, NATIONAL PENN BANK, NEW FED
MORTGAGE CORP., NL, INC., NORTH COUNTY REAL
ESTATE, INC., NORTHWEST MORTGAGE GROUP,
INC., NOVA FINANCIAL & INVESTMENT
CORPORATION, OAKTREE FUNDING
CORPORATION, ORO REAL, INC., PACIFIC FIRST
FINANCIAL SERVICES, LP, PARAMOUNT
RESIDENTIAL MORTGAGE GROUP INC., PARKSIDE
LENDING, LLC, PEMM.TEK MORTGAGE SERVICES,
LLC, PHH HOME LOANS, LLC, PMAC LENDING
SERVICES, INC., PMC BANCORP, POPULAR
MORTGAGE CORP, PRIMARY CAPITAL ADVISORS,
LC, PRIME MORTGAGE CORPORATION, PROMINENT
MORTGAGE CORP., PTF FINANCIAL CORP.,
QUICKDRAW REAL ESTATE SERVICES, INC., RBC
MORTGAGE COMPANY, REAL ESTATE FINANCIAL
SERVICES, INC., RELIANT MORTGAGE COMPANY,
LLC, REPUBLIC MORTGAGE HOME LOANS LLC,
REPUBLIC STATE MORTGAGE COMPANY,
RESIDENTIAL HOME FUNDING CORP., RESIDENTIAL
MORTGAGE CAPITAL, RESPONSE MORTGAGE
SERVICES, INC., REUNION MORTGAGE INC., RMR
FINANCIAL, LLC, SACRAMENTO 1ST MORTGAGE,
INC., SAN DIEGO GREAT WESTERN MORTGAGE CO.
INC., SANTA CRUZ MORTGAGE COMPANY,
SECURITY NATIONAL MORTGAGE COMPANY, SGB
CORP., SHEA MORTGAGE INC., SIERRA PACIFIC
MORTGAGE COMPANY INC, SIMONICH
CORPORATION, SOLUBANC FUNDING, INC.,
SOUTHEAST FUNDING ALLIANCE, INC., STERLING
NATIONAL MORTGAGE COMPANY, INC.,

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 SUBURBAN MORTGAGE, INC., SUN AMERICAN
 MORTGAGE COMPANY, SUNBELT LENDING
 SERVICES, INC., SUNSET DIRECT LENDING, LLC,
 SUNSET MORTGAGE CO., SUNSET MORTGAGE
 COMPANY, LP, THE LENDING COMPANY, UNIFIED
 CAPITAL GROUP, UNIVERSAL AMERICAN
 MORTGAGE COMPANY, LLC, VISION MORTGAGE,
 L.L.C., WALL STREET MORTGAGE BANKERS, LTD.,
 WEBSTER BANK N.A., WEGER MORTGAGE
 CORPORATION, WEI MORTGAGE CORPORATION,
 WESTSTAR MORTGAGE, INC., WHOLESALE
 AMERICA MORTGAGE, INC., WINDSOR CAPITAL
 MORTGAGE CORPORATION, WINSTAR MORTGAGE
 PARTNERS, INC., WR STARKEY MORTGAGE LLP, and
 ZINO FINANCIAL, INC.,

                                Defendants.


                                 ADVERSARY COMPLAINT

               Plaintiff Lehman Brothers Holdings Inc. (“LBHI”), the Plan Administrator under

the Modified Third Amended Joint Chapter 11 Plan of Lehman Brothers Holdings Inc. and Its

Affiliated Debtors (the “Plan”), for its Complaint against Defendants (identified in the caption

and in Exhibit A) (attached hereto) (collectively, “Defendants”) alleges upon knowledge as to

itself and its own conduct, and upon information and belief as to all other matters, as follows:

                                     NATURE OF ACTION

       1.      In this action, LBHI seeks to enforce its right to contractual indemnification for

liabilities, losses, damages, claims, judgments and any other costs, fees and expenses LBHI

incurred as a result of Defendants’ sale and/or submission of thousands of defective mortgage

loans in breach of Defendants’ representations, warranties, and covenants (the “Defective

Loans”).

       2.      LBHI sold the Defective Loans to the Federal National Mortgage Association

(“Fannie Mae”) and the Federal Home Loan Mortgage Corporation (“Freddie Mac”) under

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agreements that included representations and warranties about the Defective Loans that were co-

extensive with those made by Defendants. LBHI retained the right to seek indemnification from

Defendants in the event it became liable for certain indemnification events. After Fannie Mae

and Freddie Mac discovered that the mortgage loans breached certain of those representations

and warranties, Fannie Mae and Freddie Mac made claims upon LBHI for losses suffered on the

Defective Loans. In January and February 2014, respectively, the United States Bankruptcy

Court for the Southern District of New York (the “Bankruptcy Court”) approved settlements

between (i) LBHI and Fannie Mae (ECF No. 42153), and (ii) LBHI and Freddie Mac (ECF No.

42754), giving rise to LBHI’s indemnification claims under the Agreements, as defined below,

with Defendants.

       3.      By this action, LBHI seeks (i) to obtain a declaration that the court approved

settlements between LBHI and Fannie Mae and Freddie Mac gave rise to LBHI’s contractual

indemnification claims under the Agreements, and (ii) recover money damages from Defendants

for the indemnification claims.

                                            PARTIES

       4.      On September 15, 2008, Plaintiff LBHI commenced with this Court a voluntary

case under chapter 11 of the Bankruptcy Code. LBHI is a Delaware corporation with its

principal place of business in New York, New York.

       5.      Upon information and belief, Defendants are incorporated in, residents of, and

with headquarters and/or principal places of business in various states in the United States, as

specified in Exhibit A attached hereto.




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                                 JURISDICTION AND VENUE

         6.    This adversary proceeding is commenced pursuant to Rules 7001 and 7003 of the

Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”).

         7.    This Court has subject-matter jurisdiction to consider and determine this matter

pursuant to 28 U.S.C. §§ 157 and 1334 and as the matter has a close nexus with the Plan, which

was confirmed by Order of the Bankruptcy Court, dated December 6, 2011 (the “Confirmation

Order”), and became effective on March 6, 2012. The Court has retained post-confirmation

jurisdiction over this matter pursuant to section 14.1 of the Plan and paragraph 77 of the

Confirmation Order.

         8.    Venue is proper under 28 U.S.C. §§ 157(a), 1408, and 1409.

         9.    This Court has personal jurisdiction over Defendants.

                                   FACTUAL BACKGROUND

         10.   At all relevant times, LBHI engaged in the purchase and sale of mortgage loans

directly or through affiliates, including Lehman Brothers Bank, FSB (“LBB”), then sold the

loans to third parties, including Fannie Mae and Freddie Mac.

         11.   Defendants engage, and at all relevant times engaged, in mortgage origination, as

well as the sale of mortgage loans on the secondary market to entities such as LBB and LBHI.

A.       The Governing Agreements

         12.   This dispute arises out of (i) certain Defendants’ sale of residential mortgage

loans to LBHI’s assignor, LBB, under a number of substantially similar Loan Purchase

Agreements between LBB and certain Defendants (each an “LPA,” collectively, the “LPAs”);1



1
 Although the language of certain sections referenced throughout this Complaint may vary slightly from
LPA to LPA, it is generally consistent in all material respects.

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(ii) certain Defendants’ submission of residential mortgage loans to LBHI’s assignor, LBB,

under a number of substantially similar Broker Agreements between LBB and certain

Defendants (each a “Broker Agreement,” collectively, the “Broker Agreements”),2 and (iii)

certain Defendants’ sale of residential mortgage loans to LBHI’s assignor, LBB, under a number

of substantially similar Flow Mortgage Loan Purchase and Warranties Agreements between LBB

and certain Defendants (the “Flow LPAs”).3 The dates of the relevant LPAs, Broker

Agreements, and Flow LPAs are listed in Exhibit B hereto.

         13.    The LPAs specifically incorporate the terms and conditions of the Seller’s Guide

of Lehman’s loan administrator, Aurora Loan Services LLC (the “Seller’s Guide”) which sets

forth additional duties and obligations of certain Defendants.4 The Seller’s Guide in its entirety

is valid and binding on the Defendants who entered into the LPAs.

         14.    The Flow LPAs incorporate the terms and conditions of the relevant Defendant’s

own underwriting guidelines.5




2
 The operative Broker Agreement for each of the Defective Loans is the version in effect at the time the
Defendant sold the loan to LBB. Although the language of certain sections referenced throughout this
Complaint may vary slightly from Broker Agreement to Broker Agreement, it is generally consistent in
all material respects.
3
 The agreement with defendant HSBC Mortgage Services Inc. (“HSBC”) is titled Mortgage Loan
Purchase, Warranties and Interim Servicing Agreement.
4
 The operative Seller’s Guide for each of the Defective Loans is the version in effect at the time the
Defendant sold the loan to LBB. Although the language of certain sections referenced throughout this
Complaint may vary slightly from Seller’s Guide to Seller’s Guide, it is generally consistent in all
material respects.
5
  See e.g., HSBC Flow LPA at §7(u) (“The Mortgage Loan was underwritten in accordance with the
Underwriting Guidelines in effect at the time the Mortgage Loan was originated or acquired by the Seller
or an Affiliate.”) and at §1 (“Definitions”) at p. 11 (“Underwriting Guidelines. The Seller’s written
underwriting guidelines as in effect with respect to any Mortgage Loan at the time of its purchase or
origination by Seller or its Affiliates, and as were delivered to Purchaser upon request.”)

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       15.     The LPAs and Flow LPAs set forth the duties and obligations of the parties with

respect to the purchase and sale of mortgage loans, including but not limited to purchase price,

delivery, and conveyance of the mortgage loans and mortgage loan documents.

       16.     The LPAs, Flow LPAs, and the Broker Agreements (collectively the

“Agreements”) also set forth Defendants’ duties and obligations regarding examination of

mortgage loan files and underwriting; representations and warranties concerning the parties and

individual mortgage loans purchased, sold or submitted; and Defendants’ indemnification

obligations.

       17.     Pursuant to the Agreements, Defendants sold to LBB thousands of Defective

Loans that resulted in LBHI being exposed to hundreds of millions of dollars of liability, as

described further below.

       18.     The parties agreed that Defendants’ obligations would extend to any subsequent

purchasers and/or assignees, such as, in this case, LBHI. The Seller’s Guide defines the

“Purchaser” as LBB and, among others, its “successors and/or assigns.” See Seller’s Guide § 8.

The Flow LPAs similarly provide that the agreement is for the benefit of, and enforceable by, the

Purchaser and its “successors and assigns.” See e.g., HSBC Flow LPA at Section 21 (“Successor

and Assigns; Assignment of Purchase Agreement”) (“This Agreement may be assigned, pledged

or hypothecated by the Purchaser in whole or in part, and with respect to one or more of the

Mortgage Loans, without the consent of the Seller. There shall be no limitation on the number of

assignments or transfers allowable by the Purchaser with respect to the Mortgage Loans and this

Agreement.”)

       19.     The Broker Agreements provide in Section 15 that LBB as the “Lender, in its sole

discretion, may assign this Agreement from time to time.”


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         20.   In conjunction with the sale by LBB to LBHI of the Defective Loans, LBB

assigned to LBHI all of its rights and remedies under the Agreements pertaining to the Defective

Loans.

         21.   Further, the Seller’s Guide provides that LBHI, as a subsequent holder of any

Mortgage Loan, “shall be a third party beneficiary” of the LPAs. See Seller’s Guide § 711.

         22.   Accordingly, LBHI as the “assignee,” “subsequent holder” (and third-party

beneficiary) of the Defective Loans is entitled to all the benefits of the Agreements, including the

right to contractual indemnification.

B.       Defendants’ Representations Under the LPAs

         23.   With respect to each of the loans sold to LBHI (as, among other things, LBB’s

assignee) under the LPAs, Defendants made a number of representations, warranties, and

covenants concerning the quality of the mortgage loans.

         24.   Specific examples of Defendants’ representations, warranties and covenants

concerning the quality of the mortgage loans include, but are not limited to, the following:

               No document, report or material furnished to Purchaser in any
               Mortgage Loan File or related to any Mortgage Loan (including,
               without limitation, the Mortgagor’s application for the Mortgage
               Loan executed by the Mortgagor), was falsified or contains any
               untrue statement of fact or omits to state a fact necessary to make
               the statements contained therein not misleading. Seller’s Guide §
               703(1).

               Seller . . . has duly and faithfully complied with and will continue to
               comply with: (i) all applicable laws, rules, regulations, decrees,
               pronouncements, directives, orders and contractual requirements
               with respect to the origination, closing, underwriting, processing
               and servicing of each Mortgage Loan . . . . Seller’s Guide § 703(8).

               The documents, instruments and agreements submitted for loan
               underwriting were not falsified and contain no untrue statement of
               material fact or omit to state a material fact required to be stated
               therein or necessary to make the information and statements therein

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              not misleading. No fraud was committed in connection with the
              origination of the Mortgage Loan. The Seller has reviewed all of the
              documents constituting the Mortgage Loan File and has made such
              inquiries as it deems necessary to make and confirm the accuracy of
              the representations set forth herein. Seller’s Guide § 703(12).

              There is no default, breach, violation or event of acceleration
              existing under the Mortgage or the Note and, no event has occurred
              or condition exists that, with the passage of time or with notice and
              the expiration of any grace or cure period, would constitute a default,
              breach, violation or event of acceleration and neither Seller nor its
              predecessors has waived any default, breach, violation or event of
              acceleration. Seller’s Guide § 703(18).

              The Mortgage Loan has been originated and processed by Seller or
              Seller’s correspondent in accordance with, and conforms with, the
              terms of this Seller’s Guide and the Loan Purchase Agreement, and
              the Mortgage Loan has been underwritten in accordance with
              Underwriting Guidelines in effect as of the date of the Delivery
              Commitment applicable to the Mortgage Loan. The Mortgage Loan
              complies with all the requirements of the related Program Profile
              applicable to such Mortgage Loan . . . . Seller’s Guide § 703(21).

              The Mortgaged Property is lawfully occupied under applicable law,
              unless properly disclosed to Purchaser. All inspections, licenses and
              certificates required to be made or issued with respect to all occupied
              portions of the Mortgaged Property, or with respect to the use and
              occupancy of the same (including, without limitation, certificates of
              occupancy and fire underwriting certificates), have been made or
              obtained by Seller or Seller’s correspondent from the appropriate
              authorities. The Mortgagor represented at the time of origination of
              the Mortgage Loan that the Mortgagor would occupy the Mortgaged
              Property as the Mortgagor’s primary residence, if applicable.
              Seller’s Guide § 703(24).

       25.    In certain instances, Defendants were also the underwriter of loans as permitted

under the Seller’s Guide. With respect to those loans, Defendants additionally represented,

warranted and covenanted in Section 717(1) of the Seller’s Guide that:

              All underwriting performed by Seller hereunder shall be in strict
              compliance with the underwriting guidelines and product
              descriptions contained in the Seller’s Guide and such other
              guidelines and requirements as may be provided to Seller in writing
              from time to time.

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       26.     Defendants represented and/or warranted that they had the ability to perform their

obligations under, and satisfy all requirements of, the LPAs. See Seller’s Guide § 702(5).

       27.     LBHI (as, among other things, LBB’s assignee) relied upon the representations and

warranties contained in the Agreements in purchasing the Defective Loans. Specifically, Section

701 of the Seller’s Guide provides that:

               Seller acknowledges that Mortgage Loans are purchased in reliance
               upon: (i) the truth and accuracy of Seller’s representations and
               warranties set forth in the Loan Purchase Agreement and this
               Seller’s Guide, each of which representations and warranties relates
               to a matter material to such purchase; and (ii) Seller’s compliance
               with each of the agreements, requirements, terms, covenants and
               conditions set forth in the Loan Purchase Agreement and this
               Seller’s Guide.

       28.     Defendants agreed to indemnify LBHI (as, among other things, LBB’s assignee)

from liabilities, claims, judgments, losses and expenses it might sustain as a result of the

Defective Loans, including attorneys’ fees. Section 711 of the Seller’s Guide, entitled

“Indemnification and Third Party Claims,” provides, in pertinent part, as follows:

               In addition to any repurchase and cure obligations of Seller, . . .
               Seller shall indemnify Purchaser and Purchaser’s designee
               (including, without limitation, any subsequent holder of any Note)
               from and hold them harmless against all claims, losses, damages,
               penalties, fines, claims, forfeitures, lawsuits, court costs, reasonable
               attorney’s fees, judgments and any other costs, fees and expenses
               that the Purchaser may sustain in any way related to or resulting
               from any act or failure to act or any breach of any warranty,
               obligation, representation or covenant contained in or made
               pursuant to this Seller’s Guide or the Loan Purchase Agreement by
               any agent, employee, representative or officer of Seller or Seller’s
               correspondent.




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C.        Defendants’ Representations Under the Broker Agreements

          29.   With respect to each of the loans submitted under the Broker Agreements,

Defendants made a number of representations, warranties, and covenants concerning the quality

of the mortgage loans.

          30.   Specific examples of Defendants’ representations, warranties and covenants

concerning the quality of the mortgage loans include, but are not limited to, the following:

                Broker has made diligent inquiry into all facts and circumstances in
                making the loan, including all material representations and
                warranties of the borrower, and to Broker’s knowledge, none of the
                statements, information, or documentation included in the loan
                application, underwriting and closing packages contain any false or
                misleading statements or omit material facts necessary to make such
                statements accurate and not misleading. After review of the entire
                loan application package and closing documents . . . Broker has no
                knowledge of nor any reason to know of any fraudulent information
                or documentation present in the loan application package, closing
                documents or in the origination process used to generate the loan
                application package or closing documents. Broker Agreement §
                8(g).

                Broker has no knowledge nor any reason to know of any
                circumstance or condition which might indicate that the appraisal is
                incomplete or inaccurate or that the value of the Property might not
                be at least the amount reported therein, or any circumstances or
                conditions with respect to the Property, the borrower or the
                borrower’s credit that could reasonably be expected to cause private
                institutional investors to regard the loan as an unacceptable
                investment or cause the loan to become delinquent, or adversely
                affect the value or marketability of the loan. Broker Agreement
                § 8(h).

          31.   Defendants represented and/or warranted that they had the ability to perform their

obligations under, and satisfy all requirements of, the Broker Agreements. See Broker Agreement

§ 8(a).

          32.   Defendants agreed to indemnify LBHI (as, among other things, LBB’s assignee)

from liabilities, claims, judgments, losses and expenses it might sustain as a result of the

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Defective Loans, including attorneys’ fees. Section 9 of the Broker Agreement, entitled

“Indemnification,” provides, in pertinent part, as follows:

               In addition to Lender’s rights and remedies under Applicable Law
               (whether arising at law or in equity), Broker shall indemnify and
               hold Lender, its successors and assigns, and their respective officers,
               directors, employees. shareholders, members, agents, contractors,
               affiliates and subsidiaries (collectively, the “Lender Indemnitees”)
               harmless from and against, and shall reimburse Lender Indemnitees
               with respect to, any and all claims, demands, losses, damages,
               interest, penalties, fines, forfeitures, judgments and expenses
               (including, without limitation, reasonable fees and disbursements of
               counsel, and court costs) (any of the foregoing hereinafter referred
               to as a “Claim”), resulting from, relating to or arising out of, whether
               the result of negligent or intentional conduct or otherwise: (i) any
               breach of any representation or warranty made by Broker pursuant
               to this Agreement or Lender’s Guidelines: (ii) any breach or failure
               to perform any covenant or obligation of Broker in this Agreement
               or Lender’s Guidelines. . . .

D.     Defendants’ Representations Under the Flow LPAs

       33.     With respect to the loans sold to LBHI (as, among other things, LBB’s assignee)

under the Flow LPAs, Defendants made a number of representations, warranties, and covenants

concerning the quality of the mortgage loans.

       34.     Specific examples of Defendants’ representations, warranties and covenants

concerning the quality of the mortgage loans include, but are not limited to the following:

               Mortgage Loans as Described. The information set forth in the
               related Mortgage Loan Schedule is complete, true and correct.
               HSBC Flow LPA § 7(a).

               Compliance with Applicable Laws. Any and all requirements of any
               federal, state or local law including, without limitation, usury, truth-
               in-lending, real estate settlement procedures, consumer credit
               protection, equal credit opportunity or disclosure laws applicable to
               the Mortgage Loan have been complied with and the Seller shall
               maintain in its possession, available for Purchaser’s inspection, and
               shall deliver to the Purchaser upon demand, results of Seller’s
               quality control testing in connection therewith. HSBC Flow LPA §
               7(g).

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           Validity of Mortgage Documents. The Mortgage Note and the
           Mortgage and any other agreement executed and delivered by a
           Mortgagor in connection with a Mortgage Loan are genuine, and
           each is the legal, valid and binding obligation of the maker thereof
           enforceable in accordance with its terms. All parties to the Mortgage
           Note and the Mortgage and any other related agreement had legal
           capacity to enter into the Mortgage Loan and to execute and deliver
           the Mortgage Note and the Mortgage and any other related
           agreement, and the Mortgage Note and the Mortgage and any other
           related agreement have been duly and properly executed by such
           parties. The documents, instruments and agreements submitted for
           loan underwriting were not falsified and contain no untrue statement
           of material fact or omit to state a material fact required to be stated
           therein or necessary to make the information and statements therein
           not misleading. No fraud was committed in connection with the
           origination of the Mortgage Loan. With respect to each Cooperative
           Loan, the Mortgage Note, the Mortgage, the Pledge Agreement, and
           related documents are genuine, and each is the legal, valid and
           binding obligation of the maker thereof enforceable in accordance
           with its terms. All parties to the Mortgage Note, the Mortgage, the
           Pledge Agreement, the Proprietary Lease, the Stock Power,
           Recognition Agreement and the Assignment of Proprietary Lease
           had legal capacity to enter into the Mortgage Loan and to execute
           and deliver such documents, and such documents have been duly
           and properly executed by such parties. HSBC Flow LPA § 7(k).

           No Defaults. There is no default, breach, violation or event of
           acceleration existing under the Mortgage or the Mortgage Note and
           no event which, with the passage of time or with notice and the
           expiration of any grace or cure period, would constitute a default,
           breach, violation or event of acceleration, and, as of the Closing
           Date and Transfer Date, the Seller has not waived any default,
           breach, violation or event of acceleration, except in accordance with
           Accepted Servicing Practices. HSBC Flow LPA § 7(p).

           Loan-to-Value Ratio; Combined Loan-to-Value Ratio. As of the
           date of origination, no Mortgage Loan had an LTV or a CLTV of
           greater than 100%. HSBC Flow LPA § 7(x).

           Acceptable Investment. Other than with respect to the fact that the
           Mortgage Loans may be classified as “subprime” or other similar
           classification, the Seller has no knowledge of any circumstances or
           conditions with respect to the Mortgage, the Mortgaged Property,
           the Mortgagor, the Mortgage File or the Mortgagor’s credit standing
           that can reasonably be expected to cause private institutional

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               investors to regard the Mortgage Loan as an unacceptable
               investment, cause the Mortgage Loan to become delinquent, or
               adversely affect the value or marketability of the Mortgage Loan.
               HSBC Flow LPA § 7(z).

               Delivery of Mortgage Documents. The Mortgage Note, the
               Mortgage, the Assignment of Mortgage and any other documents
               required to be delivered by the Seller on or prior to the Closing Date
               pursuant to this Agreement have been delivered to the Purchaser or
               its designee. HSBC Flow LPA § 7(aa).

               Conformance with Underwriting Guidelines; Underwriting
               Methodology. The Mortgage Loan was underwritten in accordance
               with the Underwriting Guidelines in effect at the time the Mortgage
               Loan was originated or acquired by the Seller or an Affiliate.
               Notwithstanding the foregoing, no Mortgage Loan for which there
               is no credit report or credit score in the Mortgage File was
               underwritten without verification of the Mortgagor’s income and
               assets. The Mortgage Note and Mortgage are on forms acceptable
               to participants in the secondary mortgage market for similar types
               of Mortgage Loans. The methodology used in underwriting the
               extension of credit for each Mortgage Loan does not rely on the
               extent of the Mortgagor’s equity in the collateral as the principal
               determining factor in approving such credit extension. Such
               underwriting methodology confirmed that at the time of origination
               (application/approval) the Mortgagor had a reasonable ability to
               make timely payments on the Mortgage Loan. HSBC Flow LPA §
               7(u).

       35.     The representations and warranties of the Flow LPAs are substantially similar to

the HSBC Flow LPA. Other relevant representations and warranties from other Flow LPAs are

identified in Exhibit C.

       36.     Defendants represented and/or warranted that they had the ability to perform their

obligations under, and satisfy all requirements of, the Flow LPAs. See e.g., HSBC Flow LPA §

6(d) (“The Seller is solvent and the sale of the Mortgage Loans will not cause the Seller to

become insolvent. The sale of the Mortgage Loans is not undertaken with the intent to hinder,

delay or defraud any of the Seller’s creditors. … The Seller is in good standing to sell mortgage

loans to and service mortgage loans for Fannie Mae or Freddie Mac, and no event has occurred,

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including but not limited to a change in insurance coverage, which would make the Seller unable

to comply with Fannie Mae or Freddie Mac eligibility requirements or which would require

notification to either Fannie Mae or Freddie Mac.”)

       37.     LBHI (as, among other things, LBB’s assignee) relied upon the representations

and warranties contained in the Flow LPAs in purchasing the Defective Loans.

       38.     Defendants agreed to indemnify LBHI (as, among other things, LBB’s assignee)

from liabilities, claims, judgments, losses and expenses it might sustain as a result of the

Defective Loans, including attorneys’ fees. For example, Section 9 of the HSBC Flow LPA,

entitled “Indemnification,” provides as follows:

               The Seller agrees to indemnify the Purchaser and hold it harmless
               from and against any and all claims, losses, damages, penalties,
               fines, forfeitures, legal fees and related costs, judgments, and any
               other costs, fees and expenses that the Purchaser reasonably sustains
               arising out of or in connection with (i) any act or omission on the
               part any person or entity in the origination, processing, funding,
               servicing or the transfer of servicing of any Mortgage Loan prior to
               the related Transfer Date and (ii) the failure of the Seller to perform
               its duties and service and administer the Mortgage Loans in
               compliance with the terms of this Agreement.

       39.     Similar indemnification provisions are contained in the other Flow LPAs and are

identified in Exhibit C.

E.     LBHI’s Settlement With Fannie Mae and Freddie Mac

       40.     Fannie Mae and Freddie Mac discovered breaches of representations, warranties

and/or covenants in the Defective Loans that were co-extensive with the representations,

warranties, and covenants contained in the Agreements.

       41.     Fannie Mae and Freddie Mac filed proofs of claim in LBHI’s bankruptcy

proceeding to recover for losses on breaching mortgage loans sold to them by LBHI.




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       42.     LBHI examined Fannie Mae’s and Freddie Mac’s claims, and determined that the

Defective Loans contained various defects which violated the representations, warranties and/or

covenants under the Agreements, including but not limited to the representations and warranties

that all the information provided in the loan files was true and correct and that the loans met

certain origination and underwriting requirements. Thus, Defendants’ breaches, acts and

omissions resulted in LBHI incurring liability to Fannie Mae and Freddie Mac, which liability

was settled.

       43.     The Bankruptcy Court approved LBHI’s settlements with Fannie Mae and

Freddie Mac.

F.     Defendants’ Obligation to Indemnify LBHI

       44.     Defendants agreed to indemnify LBHI (as, among other things, LBB’s assignee)

from liabilities, claims, judgments, losses and expenses it might sustain as a result of the

Defective Loans. See Seller’s Guide § 711; Broker Agreement § 9; HSBC Flow LPA § 9;

Exhibit C.

       45.     LBHI has demanded that Defendants indemnify LBHI, which demands have been

refused by such Defendants.

       46.     Such Defendants’ failure and refusal to indemnify LBHI for LBHI’s liability to

Fannie Mae and Freddie Mac constitute breaches of those Defendants’ contractual

indemnification obligations.

       47.     Pursuant to the Agreements, upon information and belief, the laws of the State of

New York govern this action.

       48.     All conditions precedent to bringing this action have been met, occurred or have

been waived.


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                                  FIRST CLAIM FOR RELIEF
                                    (Declaratory Judgment)

        49.     LBHI hereby incorporates by reference the allegations set forth above as though

fully set forth herein.

        50.     A substantial and actual controversy exists between LBHI and Defendants as to

when LBHI’s contractual indemnification claim accrued.

        51.     A declaration of the rights and remedies of the parties under the Agreements is

required to clarify and settle the legal issues involved and, in particular, to confirm that LBHI’s

indemnification claim against Defendants are timely.

        52.     Resolution of these issues will provide certainty to the parties to this adversary

proceeding.

        53.     Pursuant to 28 U.S.C. § 2201 and Fed. R. Bankr. P. 7001, this Court should issue

judgment declaring that the court approved settlements between LBHI and Fannie Mae on or

about January 31, 2014 and between LBHI and Freddie Mac on or about February 19, 2014 gave

rise to LBHI’s contractual indemnification claims under the Agreements.

                                SECOND CLAIM FOR RELIEF
                                 (Contractual Indemnification)

        54.     LBHI hereby incorporates by reference the allegations set forth above as though

fully set forth herein.

        55.     The Agreements are valid and enforceable contracts that are binding upon

Defendants.

        56.     LBHI has substantially performed all of its obligations under the Agreements.

        57.     Defendants owe LBHI indemnity for its liabilities, losses, claims, judgments and

any other costs, fees and expenses as to the Defective Loans.


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         58.    Defendants breached the Agreements by failing to indemnify LBHI for its

liabilities, losses, claims, judgments and any other costs, fees and expenses as to the Defective

Loans.

         59.    Defendants’ breaches of the Agreements as to the Defective Loans resulted in

LBHI incurring liability and/or losses to third parties in an amount to be determined at trial, plus

prejudgment interest pursuant to New York law, attorneys’ fees, litigation costs, and all other

fees and costs provided by the Agreement.

                                      PRAYER FOR RELIEF

         WHEREFORE, LBHI respectfully requests that this Court enter judgment in its favor and

against defendant Defendants as follows:

                a)      A declaration that the Court approved settlements between LBHI and

         Fannie Mae and Freddie Mac gave rise to LBHI’s contractual indemnification claims

         under the Agreements.

                b)      For all damages arising from or relating to Defendants’ obligations under

         the indemnification provisions of the Agreements, in an amount to be determined at trial;

                c)      For recoverable interest;

                d)      For the costs and expenses incurred by LBHI in enforcing Defendants’

         obligations under the Agreement, including attorneys’ fees and costs and any expert

         witness fees incurred in litigation; and




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            e)     Providing for such other relief as the Court deems just and proper.


Dated: New York, New York
       February 3, 2016


                                             /s/ William A. Maher
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